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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-1243V
                                    Filed: February 17, 2016
                                           Unpublished

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KALLI KLINE,                            *
                                        *
                   Petitioner,          *     Ruling on Entitlement; Damages
                                        *     Decision Based on Proffer;
                                        *     Concession; Influenza (“Flu”)
SECRETARY OF HEALTH                     *     Vaccination; Shoulder Injury Related
AND HUMAN SERVICES,                     *     to Vaccine Administration (“SIRVA”);
                                        *     Special Processing Unit (“SPU”)
                   Respondent.          *
                                        *
****************************
Andrew Downing, Van Cott & Talamante, PLLC, Phoenix, AZ, for petitioner.
Lisa Watts, U.S. Department of Justice, Washington, DC, for respondent.

         RULING ON ENTITLEMENT AND DECISION AWARDING DAMAGES1

Dorsey, Chief Special Master:

       On October 23, 2015, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 [the
“Vaccine Act” or “Program”]. Petitioner alleges that she suffered a shoulder injury
related to vaccine administration (“SIRVA”) caused by the influenza vaccine she
received on October 13, 2014. Petition, ¶¶ 2, 4, 10. The case was assigned to the
Special Processing Unit of the Office of Special Masters.

       On February 16, 2016, respondent filed a Rule 4(c) Report and Proffer on
Damages in which she concedes that petitioner is entitled to compensation in this case.
Respondent’s Rule 4(c) Report and Proffer on Damages at 1 (ECF No. 16).
Specifically, respondent “has concluded that petitioner’s alleged injury is consistent with
a shoulder injury related to vaccine administration (“SIRVA”), and that it was caused in
fact by the flu vaccine she received on October 13, 2014.” Id. at 3. Respondent further

1 Because this unpublished ruling and decision contains a reasoned explanation for the action in this
case, the undersigned intends to post it on the United States Court of Federal Claims' website, in
accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913
(codified as amended at 44 U.S.C. § 3501 note (2006)). In accordance with Vaccine Rule 18(b), petitioner
has 14 days to identify and move to redact medical or other information, the disclosure of which would
constitute an unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified
material fits within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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agrees “[n]o other causes for petitioner’s SIRVA have been identified, . . . the statutory
six month sequela requirement has been satisfied, . . . [and] petitioner has satisfied all
legal prerequisites for compensation under the Act.” Id. (citations omitted).

        Additionally, “[b]ased upon the evidence of record, respondent proffers that
petitioner should be awarded $85,000.00 representing all elements of compensation to
which petitioner would be entitled under 42 U.S.C. § 300aa-15(a).” Respondent’s Rule
4(c) Report and Proffer on Damages at 3. Respondent represents that petitioner
agrees with the proffered award. Id.

      In view of respondent’s concession and the evidence before me, the
undersigned finds that petitioner is entitled to compensation. Further, based on
the record as a whole, the undersigned finds that petitioner is entitled to an award
as stated in Respondent’s Rule 4(c) Report and Proffer on Damages.

       Pursuant to the terms stated in Respondent’s Rule 4(c) Report and Proffer on
Damages, the undersigned awards petitioner a lump sum payment of $85,000.00
in the form of a check payable to petitioner, Kalli Kline.3 This amount represents
compensation for all damages that would be available under § 300aa-15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.4

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3“Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court for
appropriate relief. In particular, respondent would oppose any award for future medical expenses, future
pain and suffering, and future lost wages.” Respondent’s Rule 4(c) Report and Proffer on Damages at 4.

4 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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